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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                  CASE NO.: 1:05cr40-SPM

EDWARDO ACOSTA, et al.,

           Defendants.
________________________________/

                 ORDER GRANTING MOTIONS TO ADOPT

      Upon consideration, the motions to adopt (docs. 193, 194, 195) filed by

Defendants Lazaro Ulysis Daly, Juan J. Gomez, and Robert Valle are granted

      DONE AND ORDERED this 27th day of January, 2006.


                                   s/ Stephan P. Mickle
                                Stephan P. Mickle
                                United States District Judge
